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DANIEL SZALKIEWICZ & ASSOCIATES, P.C.
23 W. 73rd Street, Suite 102
New York, New York 10023
Tel.: (212) 706-1007
Fax: (646) 849-0033

Attorneys for Plaintiff
John Doe

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  John Doe.
                                                        Case No. 2:21-cv-20706
                 Plaintiff,
                                                        Request for Entry of Default Pursuant to
         v.                                             Fed. R. Civ. P. 55(a)

 Baila Sebrow

                 Defendant

TO:    William T. Walsh
       Clerk of the Court
       United States District Court – District of New Jersey
       50 Walnut Street
       Newark, NJ 07102

       Request is hereby made for the entry of default as to Defendant for failure to plead or
otherwise defend as provided by the Federal Rules of Civil Procedure.

Dated: July 5, 2022


                                          DANIEL SZALKIEWICZ & ASSOCIATES, P.C.

                                          /s/Daniel Szalkiewicz, Esq.
                                          Daniel S. Szalkiewicz




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